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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
                                                 x
                                                 :   Civil Action No.: 1:23-cv-00011 (GLS/CFH)
JUAN SANTANA, Individually, and On
                                                 :
Behalf of All Others Similarly Situated,
                                                 :
                                                 :
                              Plaintiff,         :   CLASS ACTION COMPLAINT FOR
                                                 :   VIOLATIONS OF THE AMERICANS WITH
       vs.                                       :   DISABILITIES ACT OF 1990 AND NEW
                                                 :   YORK STATE HUMAN RIGHTS LAW
                                                 :
NUTRA BULK, INC.,
                                                 :
                              Defendant.         :
                                                 :
                                                 :   DEMAND FOR JURY TRIAL
                                                 x

       Plaintiff Juan Santana (“Plaintiff”), by and through his attorney, brings this class action

both on an individual basis, and on behalf of all others similarly situated, for declaratory relief,

injunctive relief, and compensatory damages—including statutory and punitive damages—against

defendant Nutra Bulk, Inc. (“Defendant”), and alleges based upon the personal knowledge of

Plaintiff, the investigation of counsel, and upon information and belief, as follows:

                                        INTRODUCTION

       1.      This class-action lawsuit challenges the discriminatory actions of businesses that

prevent those who are visually impaired or legally blind from equal enjoyment and access to

websites, and the Internet generally.

       2.      For sighted, blind, and visually impaired individuals, the Internet has become a

significant source of information and entertainment, a tool for conducting business, and a means

of accomplishing countless everyday activities such as shopping, banking, and learning. In today’s

tech-savvy, instantaneous world of online commerce, blind and visually impaired people must

have the ability to access websites to enjoy the same convenience and savings allowed by online
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shopping as sighted New Yorkers. The primary means they do so is with screen reading software

that vocalizes the visual information found on a computer screen.

        3.     Defendant is an online retail company, who owns and/or operates nutrabulk.com

(“Website” or “Defendant’s Website”). Through the website, Defendant sells products, such as

various health powders and supplements.

        4.     Defendant and its Website violate the Title III of the Americans with Disabilities

Act of 1990 (“ADA”), 42 U.S.C. § 12101 et seq.; and New York State Civil Rights Law, § 40 et

seq. and § 40-c et seq. (“NYSCRL”), as the Website is not equally accessible to blind and visually

impaired consumers.

        5.     Plaintiff brings this action on behalf of him and other similarly situated people who

are blind and/or visually impaired, who wish to access the website in order to purchase the goods

and products that Defendant sells there during the past three years from the date of the filing of the

complaint (the “Class Period”).

        6.     Plaintiff and the proposed classes seek, inter alia, a preliminary and permanent

injunction, other declaratory relief, statutory damages, actual and punitive damages, pre-judgment

and post-judgment interest, and reasonable attorneys’ fees and expenses.

                             ADMINISTRATIVE PROCEDURES

        7.     Prior to or concurrently with the initiation of this suit, Plaintiff served a notice of

this action upon the attorney general, thereby satisfying the notice requirements of the New York

Civil Rights Law.

        8.     Any and all other prerequisites to the filing of this suit have been met.

                                  JURISDICTION AND VENUE

        9.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331.



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          10.   This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the NYSCRL

claims.

          11.   This is an action for declaratory and injunctive relief brought pursuant to the ADA,

42 U.S.C. § 12131 et seq. This Court has jurisdiction to issue a declaratory judgment pursuant to

28 U.S.C. §§ 2201 and 2202.

          12.   Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b), as a substantial part

of the events or omissions giving rise to the claims alleged herein occurred in this District.

Defendant operates and distributes its products throughout the United States, including to

consumers and others in this District. Defendant’s health supplements can be directly ordered from

Defendant’s website for delivery to locations in New York. Plaintiff has been denied the full use

and enjoyment of the goods offered on Defendant’s website in this District.

                                             PARTIES

Plaintiff

          13.   Plaintiff is a resident of Albany, New York. Plaintiff is a qualified person with a

disability. Plaintiff is a blind, visually impaired, handicapped person as defined under the ADA,

and NYSCRL. Plaintiff has experienced and continues to experience discrimination as a result of

the website not being accessible to Plaintiff and other visually impaired people.

Defendant

          14.   Upon information and belief, Defendant is a company formed under the laws of

New York and transacts business in New York through its Website. Defendant owns and/or

operates the Website, which is a place of public accommodation as defined under the ADA and

NYSCRL.




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                                 FACTUAL ALLEGATIONS

Access to the Internet is integral to participate in current society

       15.     In recent decades, the Internet has quickly become an integral part of modern

society. Per a study by the MIT Technology Review published in 2018, the average American

spends 23.6 hours of every week online. According to studies cited by CNBC, as of 2018,

Americans spent 234 million hours shopping online during the average workday. Harvard

Business Review studied the shopping behaviors of over 46,000 customers between 2015 and 2016

and it found that 73% of them shopped both online and in-store. In 2018, NPR and the Marist Poll

partnered up and surveyed 1,057 adults in the U.S., of those that shopped online, 88% of them

liked shopping online because the convenience of being able to shop any time of the day and find

products easily.

       16.     The growing reliance of shopping online has been accelerated by the pandemic.

According to Forbes, between 2019 and 2021, e-commerce sales grew 50.5%, while retail sales

only grew 21.9% during that same period.

Blind and/or visually impaired individuals can access the Internet, like sighted individuals,
through screen-reading software

       17.     A 2021 study from the PEW Research Center found that 75% of all Americans with

a disability report using the Internet every day. People who are legally blind and/or visually

impaired, like Plaintiff, made up a sizable portion of this population. Studies show that between

12 and 14 million Americans are legally blind and/or visually impaired. According to the

American Foundation for the Blind, the 2019 Census identified an estimated 388,524 New Yorkers

with serious sight impairment that cannot be remedied with corrective lenses.

       18.     While Internet shopping is a convenience enjoyed by many, it can be particularly

necessary for the visually impaired. Without it, a visually impaired person who is shopping at a


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physical retail location will often require help while shopping. For instance, when visiting a retail

store in order to buy a product, a visually impaired person must have someone else direct them to

the appropriate aisle, describe the items available that may be of interest to the individual, tell them

what size options of the products are available, read out the product’s prices, direct the individual

to the checkout area, etc.

       19.     In contrast, a visually impaired person can navigate an accessible website without

assistance. They do so through screen reading software. This software reads the text displayed on

the computer screen by reading it aloud or converting the text to braille on a tactile refreshable

braille display. By repeating the visual information that appears on a computer screen (whether

by voice narration or converting it into braille) in a way that it can be understood by the visually

impaired individual, the screen reading software can “read” whatever is on a screen. Visually

impaired users can then navigate the information on their computer screen by using their keyboards

or by other methods.1

       20.     There are numerous types of screen readers available. Screen readers are built to

work with certain computer applications. Examples of applications that screen readers can work

with include, but are not limited to, web browsers (i.e., Google Chrome, Firefox, and more),

Microsoft Word, email applications, and music players. Currently, one of the most popular screen

readers available for PCs is the NonVisual Desktop Access (“NVDA”). It is free to download and

is compatible with all popular web browsers.




1
       Each screen reader has a set of commands that users can enter via the user’s keyboard to
navigate a computer screen’s contents. For instance, a user using the NonVisual Desktop Access
screen reading software would press the “Insert” and “F7” keys to have the screen reader begin
reading a website’s headings. Pressing the “Ctrl” key would cause the screen reader to stop
reading.

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        21.      In order for a screen reader to function properly when reading a website, the website

itself must be coded to be compatible with the screen reader. If a website is not properly coded,

the screen-reader will not be able to relay information on the website to a blind and/or visually

impaired consumer, that a sighted consumer can see. For instance, an improperly coded website

will not allow the screen reader to “read” the names of the products offered for sale on the website,

the descriptions of those products, customer comments and ratings of those products, the sizes in

which the products are offered, the prices of the products, promotional deals and online coupons,

and many other product attributes and product information.

        22.      Additionally, an improperly coded website may not notify a visually impaired

shopper when a product has been added to their “cart,” the number of items in their cart, or other

information, and may not contain information directing the visually impaired individual as to

where to input their shipping and payment information.

        23.      Such deficiencies deprive visually impaired people of the ability to obtain important

product information, make informed choices, and complete a purchase via the Internet.

To be accessible, websites should be coded per the WCAG 2.1

        24.      The international website standards organization, the World Wide Web

Consortium, known universally as W3C, has published an updated version (version 2.1) of the

Web Content Accessibility Guidelines (“WCAG”). WCAG 2.1 is a set of well-established

guidelines and criteria promulgated to ensure that websites are accessible to blind and visually

impaired people. Internationally, WCAG 2.1 is widely considered to set the standard for website

accessibility.

        25.      WCAG 2.1 contains accessibility guidelines that fall into three separate levels of

accessibility—Level A, AA, and AAA—with Level A being the lowest and Level AAA being the

highest. Conformance at the higher levels indicates conformance at lower levels too (i.e., a website
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that conforms to Level AAA will also conform to Level AA and Level A criteria). To be

accessible, a website should conform to at least Level AA.2 When a website merely complies with

Level A, the website will be very difficult, if not impossible, for many visually impaired users to

access. Of course, a website that does not even meet Level A compliance will be even less

accessible to visually impaired individuals.

       26.        Defendant’s Website fails to even meet Level A compliance.

Defendant’s Website sells goods available for purchase and delivery to New York

       27.        Defendant is an online retail company that sells various health powders and

supplements through its Website. Defendant owns and/or operates the Website.

       28.        Defendant is a supplier of various dietary supplements.

       29.        Defendant delivers its products to New York and across the country.

       30.        Defendant offers its website so that, inter alia, the general public can transact

business on it.

       31.        If Defendant’s Website were equally accessible to all, blind and/or visually

impaired individuals would be able to independently navigate the website and complete a desired

transaction, as a sighted individual could do.

Defendant has the financial means to make its website accessible to people who are blind or
visually impaired

       32.        Upon information and belief, Defendant has invested substantial sums in

developing its website and has generated significant revenue thereon. Upon information and




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       For instance, the EU Web Accessibility Directive states that public sector bodies must
make their websites abide by the WCAG 2.1 AA standard.

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belief, the revenue procured by Defendant far exceed the associated cost of making the website

equally accessible to visually impaired consumers.

                             HARM TO THE INDVIDUAL PLAINTIFF

         33.      Plaintiff is legally blind and/or visually impaired.

         34.      On August 23, 2022, October 30, 2022, and November 3, 2022, Plaintiff browsed

and attempted to transact business on Defendant’s Website. Plaintiff used the NVDA screen-

reader when he tried to access the Website.

         35.      Plaintiff went on the Website and shopped for a powder supplement to improve

sleep.

         36.      On each visit to Defendant’s Website, Plaintiff found it difficult, if not impossible,

for blind and/or visually impaired individuals, such as him, to purchase from Defendant’s Website,

as a result of the access barriers that exist. For example, the screen reader had the below problems

due to the Website’s accessibility issues:

               a) The website is not configured so that a screen reader can read page links, meaning

               Plaintiff is both delayed in his ability to navigate the website and cannot make an

               informed choice as to items to purchase because not all of the information available to

               sighted customers is available to him.

               b) Images on the website are not configured to be interpreted by a screen reader. This

               prevents Plaintiff from making an informed purchasing decision as sighted customers

               can.

               c) Product elements like flavors and quantity are not configured to be read by a screen

               reader. This impedes Plaintiff's ability to complete a purchase as a sighted customer

               would.



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       37.     As a result of the existence of these access barriers, Plaintiff was repeatedly denied

full and equal access to Defendant’s Website. These access barriers impede Plaintiff’s ability to

navigate the Website and complete a purchase. As a result of the access barriers, Plaintiff was

repeatedly denied, on each of his visits, the opportunity to purchase and to obtain the full

enjoyment of the powder supplement and/or the other products sold on the website.

       38.     Plaintiff has actual knowledge of the access barriers that make Defendant’s Website

inaccessible and independently unusable by blind and visually impaired people. Given his

experience on three occasions, Plaintiff knows that access barriers, such as those described above,

exist on Defendant’s website as of the date of the filing of this complaint.

       39.     Plaintiff has been unable and remains unable to access the Website and completing

his desired purchase. As a result, Plaintiff is deterred from returning to the Website to purchase

the products for sale there.

       40.     Plaintiff still wants to purchase the powder supplement and he intends to do so once

the access barriers are removed.      Plaintiff has a strong interest in purchasing the powder

supplement.

       41.     Plaintiff remains expectant that the access barriers will be cured expeditiously.

Once the barriers are cured, Plaintiff intends to return to the Website and purchase the powder

supplement, in addition to potentially purchasing any other products that he was unable to learn

about due to the access barriers. As Defendant’s Website is available through the Internet, and

thus available around the clock from any Internet connected device, Plaintiff may easily return to

the website and purchase the powder supplement once the barriers to accessibility are removed.




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                               CLASS ACTION ALLEGATIONS

Class

         42.    The named Plaintiff brings this action for monetary damages and injunctive relief

on their own behalf and, pursuant to Rules 23(a) and (b) of the Federal Rules of Civil Procedure,

on behalf of all visually impaired and/or legally blind individuals in the United States, who have

attempted to access Defendant’s website and have been denied access to the equal enjoyment of

the goods offered by Defendant during the Class Period (the “Class”).

         43.    Excluded from the Class are Defendant, any entity in which Defendant has a

controlling interest, and the officers, directors, affiliates, legal representatives, heirs, successors,

subsidiaries, and/or assigns of any such individual or entity.

         44.    Upon information and belief, the people in the Class are so numerous that joinder

of all such people is impracticable and the disposition of their claims in a class action is a benefit

to the parties and to the Court. See Fed. R. Civ. P. 23(a)(1). Indeed, a 2021 study from the PEW

Research Center found that 75% of all Americans with a disability report using the Internet every

day and as noted above, an estimated 388,524 New Yorkers are blind and/or visually impaired.

Defendant sells its products, through its website, to customers in New York.

         45.    Proposed members of the Class share a well-defined community of interest with

respect to both questions of law and fact involved because they are all being discriminated against

by being denied equal access, and will continue to be denied equal access to, the website. See Fed.

R. Civ. P. 23(a)(2). For instance, whether Defendant’s failure to make the Website accessible for

all blind and/or visually impaired individuals in the state of New York constitutes a discriminatory

violation of the ADA is a question common to all members of the Class. Such common questions

predominate over any questions affecting individual members of the Class.



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           46.   Plaintiff is an adequate class representative because he is directly impacted by

Defendant’s discrimination and failure to make the website accessible to people who are blind

and/or visually impaired. Plaintiff’s claims are likewise typical of the claims of the Class as a

whole because Plaintiff is similarly affected by Defendant’s discrimination and failure to ensure

accessibility to the website. See Fed. R. Civ. P. 23(a)(3).

           47.   The interests of Plaintiff are not antagonistic, or in conflict with, the interests of the

Class as a whole. The attorneys representing the Class are highly trained, duly qualified, and very

experienced with representing plaintiffs in civil rights class actions for damages and injunctive

relief.

           48.   By failing to make the website accessible to people who are blind and/or visually

impaired, Defendant has acted and/or failed to act on grounds generally applicable to the Class as

a whole. Plaintiff has similar legal bases for statutory and punitive damages that are sought on the

behalf of members of the Class in this action. Class certification of the claims is appropriate under

Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

applicable to the Class, making appropriate both declaratory and injunctive relief with respect to

Plaintiff and the Class as a whole.

           49.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3). A

class action is superior to other available methods for the fair and efficient adjudication of this

controversy since a multiplicity of actions could result in an unwarranted burden on the court

system and could create the possibility of inconsistent judgments. Moreover, a class action will

allow redress for many persons whose claims would otherwise be too small to litigate individually.

There will be no difficulty in the management of this action as a class action.




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        50.     Class members’ identities can be identified by Defendant’s records. Plaintiff

reserves the right to amend the definition of the Class at any point of the litigation, especially after

being provided the opportunity to review the documents and records produced in discovery.

NY Sub-Class

        51.     The named Plaintiff brings this action for monetary damages and injunctive relief

on their own behalf and, pursuant to Rules 23(a) and (b) of the Federal Rules of Civil Procedure,

on behalf of all visually impaired and/or legally blind individuals in the state of New York, who

have attempted to access Defendant's website and have been denied access to the equal enjoyment

of the goods offered by Defendant during the Class Period (the “NY Sub-Class”).

        52.     Excluded from the NY Sub-Class are Defendant, any entity in which Defendant has

a controlling interest, and the officers, directors, affiliates, legal representatives, heirs, successors,

subsidiaries, and/or assigns of any such individual or entity.

        53.     Upon information and belief, the people in the NY Sub-Class are so numerous that

joinder of all such people is impracticable and the disposition of their claims in a class action is a

benefit to the parties and to the Court. See Fed. R. Civ. P. 23(a)(1). Indeed, a 2021 study from the

PEW Research Center found that 75% of all Americans with a disability report using the Internet

every day and, as noted above, an estimated 388,524 New Yorkers are blind and/or visually

impaired. Defendant sells its products, through its website, to customers in New York.

        54.     Proposed members of the NY Sub-Class share a well-defined community of interest

with respect to both questions of law and fact involved because they are all being discriminated

against by being denied equal access, and will continue to be denied equal access to, the website.

See Fed. R. Civ. P. 23(a)(2). For instance, whether Defendant's failure to make the Website

accessible for all blind and/or visually impaired individuals in the state of New York constitutes a



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discriminatory violation of the ADA is a question common to all members of the NY Sub-Class.

Such common questions predominate over any questions affecting individual members of the NY

Sub-Class.

       55.     Plaintiff is an adequate class representative because his is directly impacted by

Defendant's discrimination and failure to make the website accessible to people who are blind

and/or visually impaired people. Plaintiff’s claims are likewise typical of the claims of the NY

Sub-Class as a whole because Plaintiff is similarly affected by Defendant's discrimination and

failure to ensure accessibility to the website. See Fed. R. Civ. P. 23(a)(3).

       56.     The interests of Plaintiff are not antagonistic, or in conflict with, the interests of the

NY Sub-Class as a whole. The attorneys representing the NY Sub-Class are highly trained, duly

qualified, and very experienced with representing plaintiffs in civil rights class actions for damages

and injunctive relief.

       57.     By failing to make the website accessible to people who are blind and/or visually

impaired, Defendant has acted and/or failed to act on grounds generally applicable to the NY Sub-

Class as a whole. Plaintiff has similar legal bases for statutory and punitive damages that are

sought on the behalf of members of the NY Sub-Class in this action. Class certification of the

claims is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

on grounds generally applicable to the NY Sub-Class, making appropriate both declaratory and

injunctive relief with respect to Plaintiff and the NY Sub-Class as a whole.

       58.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3). A

class action is superior to other available methods for the fair and efficient adjudication of this

controversy since a multiplicity of actions could result in an unwarranted burden on the court

system and could create the possibility of inconsistent judgments. Moreover, a class action will



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allow redress for many persons whose claims would otherwise be too small to litigate individually.

There will be no difficulty in the management of this action as a class action.

       59.     Class members’ identities can be found in Defendant’s records. Plaintiff reserves

the right to amend the definition of the NY Sub-Class at any point of the litigation, especially after

being provided the opportunity to review the documents and records produced in discovery.

                                             COUNT I

                   Violations of Title III of the Americans with Disabilities Act
                                    (42 U.S.C. § 12101 et seq.)

       60.      Plaintiff re-alleges and incorporates herein all previously alleged paragraphs in this

Complaint.

       61.     The ADA provides that:

       No individual shall be discriminated against on the basis of disability in the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
       any place of public accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.

42 U.S.C. § 12182(a).

       62.     The Website is a place of public accommodation within the meaning of the ADA.

42 U.S.C. § 12181(7). The Website is a service that is offered to the general public, and as such,

must be equally accessible to all potential consumers.

       63.     Pursuant to the ADA, the term “disability” encompasses individuals with “a

physical or mental impairment that substantially limits one or more major life activities of such

individual.” 42 U.S.C. § 12102(1)(A). The term “major life activity” includes, but is not limited

to, “caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,

communicating, and working.” 42 U.S.C. § 12102(2)(A).



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       64.     Plaintiff is a member of a protected class of persons who has a physical disability

that substantially limits the major life activity of sight within the meaning of 42 U.S.C. §

12102(1)(A)-(2)(A).

       65.     The ADA prohibits, among other things, activities such as denial of participation

to an individual or class of individuals on a basis of a disability. See 42 U.S.C. § 12182(b)(1)(A)(i).

The ADA defines “denial of participation” as a denial of individuals with disabilities the

opportunity to participate in - or benefit from - the products, services, facilities, privileges,

advantages, or accommodations of an entity. See id.

       66.     The ADA prohibits, among other things, activities such as participation in unequal

benefit. See 42 U.S.C. § 12182(b)(1)(A)(ii). The ADA defines “participation in unequal benefit”

as the denial of an individual or class of individuals, on the basis of a disability, of the opportunity

to participate in or benefit from the goods, services, facilities, privileges, advantages, or

accommodation, which is equal to the opportunities afforded to other individuals. See id.

       67.     Plaintiff has been denied full and equal access to the website, has not been provided

goods that are provided to other patrons who are not disabled, and has been provided goods that

are inferior to the services provided to non-disabled persons.

       68.     According to the ADA, “discrimination” includes, among other things:

       failure to make reasonable modifications in policies, practices, or procedures, when such
       modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities . . . and a failure to take
       such steps as may be necessary to ensure that no individual with a disability is excluded.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       69.     As the Website is currently coded, it is difficult, if not impossible, for blind and/or

visually impaired individuals to navigate the Website or purchase Defendant's goods thereon,

which are available to sighted individuals.

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       70.        By failing to operate a website that is readily accessible and usable to individuals

because of their disability, when viewed in its entirety, Defendant have demonstrated a policy,

practice, or procedure that has refused, withheld from, or denied Plaintiff and members of the

proposed classes, each of whom qualify as a protected group under the provisions of the ADA,

any of the accommodations, advantages, facilities, or privileges of the Website.

       71.        Defendant’s actions constitute discrimination against Plaintiff and the members of

the proposed classes, on the basis of disability, in violation of the ADA, given that Defendant:

             a. owned and operated a website that is inaccessible to blind and/or visually impaired

                  individuals with knowledge of that discrimination; and/or

             b. owned and operated a website that is inaccessible to blind and/or visually impaired

                  individuals and should have reasonably known of that discrimination; and/or

             c. failed to take steps that are necessary to ensure that no blind and/or visually

                  impaired individuals were excluded or denied services of a website that was owned

                  and operated by Defendant.

       72.        Through the conduct described above, Defendant, in its role as the owner and/or

operator of the Website, has discriminated against Plaintiffs and the proposed class members and

has violated § 12182 of the ADA.

       73.        Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       74.        As a direct and proximate result of Defendant's aforementioned conduct, Plaintiff

and members of the class have been injured, and continue to be injured.

       75.        Thus, Plaintiffs are entitled to injunctive relief, damages, and reasonable attorneys’

fees and costs.



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       76.     Wherefore, Plaintiff prays for relief as set forth below.

                                              COUNT II

                         Violations of the New York State Civil Rights Law
                                   (Civil Rights Law § 40 et seq.)

       77.      Plaintiff re-alleges and incorporates herein all previously alleged paragraphs in this

Complaint.

       78.     The New York State Civil Rights Law mandates that “all persons within the

jurisdiction of [New York] shall be entitled to the full and equal accommodations, advantages,

facilities, and privileges of any places of public accommodations.” N.Y. Civ. Rights Law § 40.

       79.     The Civil Rights Law provides that:

       [n]o person, being the owner, lessee, proprietor, manager, superintendent, agent or
       employee of any [place or provider of public accommodation] shall directly or
       indirectly refuse, withhold from or deny to any person any of the accommodations,
       advantages, facilities or privileges thereof…

Civil Rights Law § 40.

       80.     The Website is a place of public accommodation under Civil Rights Law § 40.

       81.     Defendant is subject to the Civil Rights Law § 40 given that it owns and/or operates

the Website. Defendant is within the meaning of “the owner, lessee, proprietor, manager,

superintendent, agent or employee of” a place of public accommodation. Civil Rights Law § 40.

       82.     Defendant has violated the section 40 of the Civil Rights Law by failing to remove

access barriers from the Website, which make it difficult, if not impossible, for blind and/or

visually impaired individuals to navigate the Website or purchase Defendant’s goods thereon,

which are available to sighted individuals.

       83.     Civil Rights Law § 41 states that “any corporation which shall violation any of the

provisions of sections forty . . . shall for each and every violation thereof be liable to a penalty of



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not less than one hundred dollars nor more than five hundred dollars, to be recovered by the person

aggrieved thereby . . . .”

        84.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

        85.     As a direct and proximate result of Defendant’s aforementioned conduct, Plaintiff

and members of the class have been injured, and continue to be injured.

        86.     Defendant discriminates and will continue in the future to discriminate against

Plaintiff on the basis of disability are being directly and indirectly refused, withheld from, or

denied the accommodations, advantages, and privileges thereof in § 40 et seq. and/or its

implementing regulations.

        87.     Defendant’s conduct constitutes an ongoing and continuous violation of the Civil

Rights Law. Unless Defendant is enjoined from further violations, Plaintiff will continue to suffer

injuries for which there is no adequate remedy at law. In particular, Plaintiff will suffer irreparable

harm in that Plaintiff and members of the proposed classes will continue to be discriminated

against and denied the accommodations, advantages, facilities, or privileges of the website, as well

as accommodations that would provide them the opportunity to benefit from it.

        88.     Wherefore, Plaintiff prays for relief as set forth below.

                                            COUNT III

                        Violations of the New York State Civil Rights Law
                                 (Civil Rights Law § 40-c et seq.)

        89.     Plaintiff re-alleges and incorporates herein all previously alleged paragraphs in this

Complaint.




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       90.      The New York State Civil Rights Law mandates that “all persons within the

jurisdiction of [New York] shall be entitled to the equal protection of the laws of [New York] or

any subdivision thereof.” N.Y. Civ. Rights Law § 40.

       91.      Under Civil Rights Law § 40-c(2), “[n]o person shall, because of . . . disability, as

such a term is defined in section [292] of the executive law, be subject to any discrimination in his

or her civil rights . . . in the exercise thereof, by any other person, or by any firm, corporation or

institution…”

       92.      Plaintiff and members of the class are persons with disabilities within the meaning

of the N.Y. Exec. Law § 292(21)(a).

       93.      Defendant is within the meaning of “any other person, or . . . any firm, corporation

or institution.” Civil Rights Law § 40-c(2).

       94.      Defendant has violated the section 40-c(2) of the Civil Rights Law by failing to

remove access barriers from the Website, which make it difficult, if not impossible, for blind and/or

visually impaired individuals to navigate the Website or purchase Defendant’s goods thereon,

which are available to sighted individuals.       As such, Defendant has subjected Plaintiff to

discrimination under Civil Rights Law § 40-c(2).

       95.      Defendant failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       96.      As a direct and proximate result of Defendant’s conduct, Plaintiff and members of

the classes have been injured, and continue to be injured.

       97.      Defendant discriminates and will continue in the future to discriminate against

Plaintiff on the basis of disability are being directly and indirectly refused, withheld from, or




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denied the accommodations, advantages, and privileges thereof in § 40 et seq. and/or its

implementing regulations.

       98.     Defendant’s conduct constitutes an ongoing and continuous violation of the Civil

Rights Law. Unless Defendant is enjoined from further violations, Plaintiff will continue to suffer

injuries for which there is no adequate remedy at law. In particular, Plaintiff will suffer harm due

to the continuous denial of the accommodations, advantages, facilities, or privileges of the website,

as well as accommodations that would provide Plaintiff the opportunity to benefit from it.

       99.     Wherefore, Plaintiff prays for relief as set forth below.

                                            COUNT IV

                                        Declaratory Relief

       100.    Plaintiff re-alleges and incorporates herein all previously alleged paragraphs in this

Complaint.

       101.    Plaintiff contends that Defendant have failed and are failing to comply with

applicable laws prohibiting discrimination against people who are blind and/or visually impaired

affecting Plaintiff’s ability to use the Website, in violation of ADA, Civil Rights Law § 40 et seq.,

and Civil Rights Law § 40-c et seq.

       102.    Defendant disagrees with Plaintiff’s contention.

       103.    A judicial declaration is necessary and appropriate at this time in order that each of

the parties may know their respective rights and duties and act accordingly.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on him own behalf and on behalf of the class, demands a

judgment as follows:




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        a.      awarding statutory money damages (including, but not limited to, $500 for each

violation pursuant to NYSCRL § 41), actual damages and punitive damages, including pre-

judgment and post-judgment interest;

        b.      granting a preliminary and permanent injunction requiring Defendant to take all the

steps necessary to make its website fully comply with the requirements set forth in the ADA and

NYSCRL;

        c.      providing a declaration that Defendant owns, maintains and/or operates its website

in a manner that discriminates against the blind and visually-impaired;

        d.      certifying the Class and the NY Sub-Class under Fed. R. Civ. P. 23(a) & (b)(2)

and/or (b)(3), appointing Plaintiff as class representative, and Plaintiff’s attorneys as class counsel;

        e.      awarding attorneys’ fees and costs, and other relief; and

        f.      awarding such other relief as this Court deems just and proper.

                                          JURY DEMAND

        Plaintiff demands a trial by jury.


DATED: January 1, 2023                          MIZRAHI KROUB LLP


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